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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          SOUTHERN DIVISION AT LONDON
     DAVID WILSON, as Administrator of the
     Estate of Lisa Noble, Deceased, Plaintiff


     VS.                                               C.A. No.: 6:17-157-KKC

                                                      AMENDED NOTICE TO TAKE FRCP
                                                      30(B)(6) DEPOSITION OF BEACON
                                                      TRANSPORT, LLC


     BEACON TRANSPORT, LLC and
     TERRAN COOPER, Defendants




           Pursuant to Rule 30(B)(6) of the Federal Rules of Civil Procedure, notice is hereby

   given that counsel for the Plaintiff in this action will take the deposition of the corporate

   representative(s) of Beacon Transport, LLC beginning on February 26, 2018 at the hour

   of 9:00am at the corporate offices of the said Defendant of 451 Mason Road, La

   Vergne, TN.

           Should multiple representatives be proffered to testify in the following matters,

   those depositions should commence at this hour, and continue from day to day until

   completed. Advance notice of the identification of witnesses to provide the requisite

   testimony is requested. This deposition is to be taken pursuant to and for all purposes

   provided under the Federal Rules of Civil Procedure by video and stenographically. The

   deposition will continue from day to day, Saturdays, Sundays and Court Holidays

   excluded, until completed.

           Examination is requested on the following matters:
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          1.      The corporate representative(s) of Beacodn Transport, LLC with the most

   knowledge about the acts, events, or occurrences of the collision on January 5, 2017 which

   forms the basis of Plaintiff’s Complaint in the above-captioned cause.

          2.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the identity, title or position, and job description, of all persons managing,

   supervising, monitoring FMCSR compliance, or in any other way directly involved with

   Defendant Cooper concerning his employment.

          3.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the trip that Defendant Cooper was on when involved in the collision on

   January 5, 2017 in issue herein, including all pick-ups and deliveries made and all

   communications between the company and the driver. For purposes of this request, “trip”

   as used herein shall mean during the course of Mr. Cooper’s use of the tractor and trailer

   involved in this crash between December 26, 2016 and January 6, 2017.

   4.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the investigation done into the collision on January 5, 2017 which forms

   the basis of Plaintiff’s Complaint in the above-captioned cause, including any

   “preventative accident” investigation or safety committee review of it.

          5.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the Federal Motor Carrier Safety Regulations regarding transporting

   goods and the safe operation of a commercial motor vehicle involved in interstate

   commerce.

          6.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the procedure(s) for the custody and maintenance of records pertaining




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   to Defendant Cooper, the vehicle and trailer that he operated in the collision in issue herein,

   and all equipment within that tractor and trailer, specifically including records relating to

   the electronic communication, global positioning satellite, and electronic hours of service

   logging device systems in the tractor and the trailer.

           7.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the procedure(s) for the custody and maintenance of records pertaining

   to all contracts for service covering the electronic communication, global positioning

   satellite, and electronic hours of service logging device systems in the tractor and the trailer

   operated by Defendant Cooper at the time of the crash in issue in this litigation.

           8.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the electronic communication, global positioning satellite, and electronic

   hours of service logging device systems in the tractor and the trailer operated by Defendant

   Cooper at the time of the crash in issue in this litigation, including the data generated by

   such systems in the thirty (30) days prior to the crash.

           9.      The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the qualifications it requires for any of its drivers of commercial motor

   vehicles, including Defendant Cooper, and the procedure(s) by which drivers are recruited

   and hired by Beacon Transport, LLC, including actions taken in the qualification,

   verification of qualification matters, testing, education, screening and hiring of Defendant

   Cooper.

           10.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about its policies and procedures related to the monitoring of its drivers,

   including, but not limited to, their driver qualification, monitoring the hours that its drivers




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   work, the locations of their vehicles, monitoring their operation of commercial motor

   vehicles, ensuring that make correct electronic hours of service log entries, and

   discouraging speeding or the violation of any other laws, ordinances, or regulations.

             11.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about any complaints, grievances, or damage claims involving Defendant

   Cooper while in its employment.

             12.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about it’s use of employees, subcontractors, leased drivers, leased vehicles, or

   independent contractors to perform transportation work on its behalf.

             13.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about any representations made to governmental agencies during the

   investigation of the collision made the basis of this lawsuit.

             14.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about factual basis for any of it’s affirmative defenses asserted in this lawsuit.

             15.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about the disciplinary system employed by it as of January 5, 2017for

   commercial drivers employed, leased or otherwise operating under its DOT Number.

             16.   The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about disciplinary or personnel action taken by it with respect to Defendant

   Cooper during the term of his employment with it.

             17.   The corporate representative(s) of Beacon Transport, LLC charged with

   verifying the veracity and completeness of interrogatory answers filed on its behalf in this

   action.




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          18.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge about FMCSR rule infractions of any type or character and the disciplinary

   policies and procedures of Beacon Transport, LLC with relation to such infractions by its

   commercial motor vehicle operators, including any disciplinary action taken with respect

   to Defendant Cooper through the termination of his employment.

          19.     The corporate representative(s) of Beacon Transport, LLC that can identify

   the individuals having communicated on its behalf with Defendant Cooper within 7 days

   before and after the accident in issue in the Complaint, including but not limited to each

   person receiving information entered into the electronic communications systems utilized

   by Mr. Cooper and company personnel in communication with him.

          20.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge of the training and instruction given to its commercial motor vehicle operators

   and the testing upon such training and instruction of the said commercial motor vehicle

   operators concerning the safe operation of tractor-trailers upon the roadways. This request

   includes but is not limited to the specific training and instruction provided to Mr. Cooper

   by Beacon Transport, LLC and the testing of Mr. Cooper concerning the safe operation of

   tractor-trailers upon the roadways.

          21.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge of the specific insurance policies having benefits available to satisfy any

   judgment that could be obtained by the Plaintiff against it or Defendant Cooper in this

   matter, including all primary, excess, umbrella and other policies of insurance.

          22.     The corporate representative(s) of Beacon Transport, LLC with the most

   knowledge of photographs taken at the scene of this collision by Defendant Cooper.




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          23.    The corporate representative with the most knowledge about the custody

   and maintenance of records produced by the Defendant in this action, including the

   originals of those documents, of the documents produced in response to the Request for

   Production of Original Documents made a part of this deposition notice, and of the

   completeness of the aforesaid productions.



                 REQUEST FOR PRODUCTION OF ORIGINAL DOCUMENTS


          The Defendant is requested to produce the following ORIGINALS OF THE

   FOLLOWING DOCUMENTS at the commencement of the aforesaid deposition

   pursuant to the Federal Rules of Civil Procedure:



          1]     All documents produced in response to the discovery of record in this matter

                 and in compliance with FRCP 26[a](1).



          2]     All photographs, video, computer generated media, or other recordings of

                 the interior and exterior of vehicles involved in this collision, the collision

                 scene, the occurrence, or relating to any equipment or things originally

                 located at or near the site of the occurrence. To the extent that the original

                 imaging is in digital format, the original files created should be produced.



          3]     Any electronic messages (Omnitrac, Qualcomm and like systems included),

                 emails, letters, memos, or other documents concerning the trip that

                 Defendant Cooper was on at the time of this crash. For purposes of this



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                request, “trip” as used herein shall mean during the course of Mr. Cooper’s

                use of the tractor and trailer involved in this crash between December 26,

                2016 and January 6, 2017.



          4]    All OmniTRAC, Qualcomm, MVPc, QTRACS, OmniExpress, TruckMail,

                TrailerTRACS, SensorTRACS, JTRACS, and other similar systems data

                for the six (6) months prior to the collision for this driver and truck.



          5]    All OmniTRAC, Qualcomm, MVPc, QTRACS, OmniExpress, TruckMail,

                TrailerTRACS, SensorTRACS, JTRACS, and other similar systems

                operator manuals pertaining to systems in use in the truck and trailer

                involved in this collision.



          6]    All OmniTRAC, Qualcomm, MVPc, QTRACS, OmniExpress, TruckMail,

                TrailerTRACS, SensorTRACS, JTRACS, and other similar systems

                training materials used to educate commercial motor vehicle operations on

                use of the systems.



          7]    All contracts for the provision of equipment and/or services of

                OmniTRAC, Qualcomm, MVPc, QTRACS, OmniExpress, TruckMail,

                TrailerTRACS, SensorTRACS, JTRACS, and other similar systems in use

                in the truck involved in this collision.




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                                  Respectfully Submitted,



                                  ___/s/Timothy D. Lange_____________________
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                                  ATTORNEYS FOR PLAINTIFF




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                              CERTIFICATE OF SERVICE

          This is to certify that a true and accurate copy of the foregoing has been served
   upon counsel on this 19th day of January, 2017 by regular U.S. Mail and email to

   Hon. Harlan E. Judd, III
   Harlan E. Judd & Associates, P.S.C.
   869 Broadway Avenue
   P.O. Box 51093
   Bowling Green, Ky 42104

   and

   harlanjuddlaw@gmail.com

                                                      ___/s/Timothy D. Lange_________




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